      Case 1:10-cr-00251-JRH-BKE Document 940 Filed 11/16/15 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                            AUGUSTA DIVISION




UNITED STATES OF AMERICA

vs.
                                                 CR110-251-017
JAMES BOUTTRY, JR.,
a/k/a "Trouble"




                                      ORDER




      Presently pending before the Court is Defendant's Motion for Reconsideration.
(Doc. no. 934.) On June 24, 2015, the Court denied a motion to reduce Defendant's
sentence pursuant to 18 USC §3582(c)(2). Defendant fails to raise any grounds
justifying reconsideration. Accordingly, Defendant's motion (doc. no. 934) is DENIED.
      ORDER ENTERED at Augusta, Georgia, this        /LAlay of November, 2015.



                                       HONOMABLE J. R&NDAL HALL
                                       United States District Judge
                                              [n District of Georgia
